          Case 18-01011-leb        Doc 10    Entered 03/26/18 13:41:13      Page 1 of 2



 1
 2
 3
 4
     Entered on Docket
 5 March 26, 2018
__________________________________________________________________
 6
 7      Ogonna M. Brown, Esq. (NV Bar No. 7589)                E-filed on: March 23, 2018
        Email: obrown@nevadafirm.com                    Todd M. Lander, Esq. (CA Bar No. 17031)
 8      F. Thomas Edwards, Esq. (NV Bar No. 9549)       Email: todd.lander@ffslaw.com
        Email: tedwards@nevadafirm.com                  Admitted Pro Hac Vice
 9      Mary Langsner, Esq. (NV Bar No. 13707)          Arash Beral, Esq. (CA Bar No. 245219)
        Email: mlangsner@nevadafirm.com                 Email: arash.beral@ffslaw.com
10      HOLLEY DRIGGS WALCH                             Admitted Pro Hac Vice
        FINE WRAY PUZEY & THOMPSON                      FREEMAN, FREEMAN & SMILEY, LLP
11      400 South Fourth Street, Third Floor            1888 Century Park East, Suite 1900
        Las Vegas, Nevada 89101                         Los Angeles, California 90067
12      Telephone:    702/791-0308                      Telephone:     310/255-6100
        Facsimile:    702/791-1912                      Facsimile:     310/255-6200
13      Attorney for GemCap Lending I, LLC
14
                                  UNITED STATES BANKRUPTCY COURT
15
                                             DISTRICT OF NEVADA
16
        In re:                                             Case No. 18-10453-LED
17                                                         Chapter 11
        U.S.A. DAWGS, INC.,
18
                                Debtor.
19
                                                           Adv. No. 18-01011-LED
20      U.S.A. DAWGS, INC.,
                                                           ORDER GRANTING STIPULATION TO
21                              Plaintiff,                 EXTEND DEADLINE FOR GEMCAP
                                                           LENDING I, LLC, TO PLEAD OR
22           v.                                            OTHERWISE RESPOND TO
        GEMCAP LENDING I, LLC, A                           ADVERSARY COMPLAINT
23      DELAWARE LIMITED LIABILITY
24      COMPANY        Defendant.

25
26               The Court, having read and considered the Stipulation to Extend Deadline for GemCap
27      Lending I, LLC to Plead or Otherwise Respond to Adversary Complaint (the “Stipulation”),
28      submitted jointly by Plaintiff Debtor U.S.A. Dawgs, Inc. (“Plaintiff”), by and through its counsel

        11933-02/2020177.docx
      Case 18-01011-leb       Doc 10    Entered 03/26/18 13:41:13        Page 2 of 2



 1   Talitha Gray Kozlowski, Esq. and Teresa M. Pilatowicz, Esq. of the law firm Garman Turner

 2   Gordon LLP, and GemCap Lending I, LLC (“Defendant”) by and through its counsel Ogonna M.

 3   Brown, Esq. of the law firm Holley Driggs Walch Fine Wray Puzey & Thompson, and Todd M.

 4   Lander, Esq. of Freeman, Freeman & Smiley, LLP, and good cause appearing therefor,

 5            IT IS ORDERED that that Stipulation is GRANTED.

 6            IT IS FURTHER ORDERED that the deadline by which Defendant shall file an answer

 7   or other response to the Complaint on file in this Adversary Proceeding [Adv. ECF No. 1] shall

 8   be extended seven (7) calendar days, from March 23, 2018, to March 30, 2018.

 9            IT IS FURTHER ORDERED that Defendant shall have through March 30, 2018, to

10   file an answer or otherwise respond to the Complaint on file in this Adversary Proceeding.

11

12   Prepared and submitted by:

13   HOLLEY DRIGGS WALCH
     FINE WRAY PUZEY & THOMPSON
14

15     /s/ Mary Langsner
     Ogonna M. Brown, Esq. (NV Bar No. 7589)
16   F. Thomas Edwards, Esq. (NV Bar No. 9549)
     Mary Langsner, Esq. (NV Bar No. 13707)
17   400 South Fourth Street, Third Floor
     Las Vegas, Nevada 89101
18   Telephone: 702/791-0308

19   FREEMAN, FREEMAN & SMILEY, LLP
     Todd M. Lander, Esq. (CA Bar No. 17031)
20   Admitted Pro Hac Vice
     Arash Beral, Esq. (CA Bar No. 245219)
21   Admitted Pro Hac Vice
     1888 Century Park East, Suite 1900
22   Los Angeles, California 90067
     Attorneys for GemCap Lending I, LLC
23

24                                                 ###

25

26

27

28
                                                    -2-
     11933-02/2020177.docx
